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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 JULIUS “JUJU” GOLDRING,
               Plaintiff,                             CIVIL ACTION FILE NO:
         v.                                               1:18-cv-1191-WMR
 ATLANTA POLICE DEPARTMENT
 OFFICERS VLADIMIR HENRY and
 JUAN RESTREPO, in their individual
 capacities,
               Defendant.

                                      ORDER

      This matter is before the Court on Defendants’ Motion for Summary

Judgment [Doc. 50]. After due consideration of the motion and oral argument by

both parties before this Court on September 4, 2019, the Court enters the following

Order.

      As the evidence on the record reflects that issues of fact still remain, the

Court finds that summary judgment is not proper at this time. Accordingly,

Defendants’ Motion for Summary Judgment [Doc. 50] is DENIED.



      SO ORDERED this 4th day of September, 2019.



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                                       WILLIAM M. RAY, II
                                       United States District Court Judge
